               IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                       NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

 JOHN CHRISTOPHER PITT
 VICKI MICHELLE PITT                            CASE NO.: bk-17-05091-DSC-13
 Debtors.                                       Date Of Filing: 11/30/2017

                       NOTICE OF WITHDRAWAL OF DOCUMENT #49


        COMES NOW, Debtors in the above-styled cause, by and through undersigned attorney of

 record, and hereby requests this Honorable Court withdraw Document #49 previously filed as the

 Motion to Sever Debtors Bankruptcy Case to Dismiss One Debtor, namely Vicki Michelle Pitt. As

 grounds, undersigned would state as follows:



        1. The above-referenced Motion was filed under the wrong docketing entry.

        2. Undersigned will file document under the correct docketing entry.



        WHEREFORE, PREMISES CONSDIERED, undersigned respectfully requests that

 Document #49 entitled Motion to Sever Debtors Bankruptcy Case to Dismiss One Debtor, namely

 Vicki Michelle Pitt be withdrawn so that the document may be properly docketed.

                                                      /s/Lois R. Beasley-Carlisle
                                                      Attorney for Debtors
                                                      P.O. Bx 170767
                                                      Tarrant, AL 35217-0767
                                                      (205) 841-4063

                                    CERTIFICATE OF SERVICE

         I hereby certify that I have served a copy of the above and foregoing on the trustee via
 electronic service this date of Friday, Friday, March 01, 2019.

                                                      /s/Lois Beasley-Carlisle
                                                      Lois R. Beasley-Carlisle




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